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3. MAG. DKTJDEF. NUMBER 4. Dls'r. DKT.mEF. NUMBER s. APPEALS oK'r./I)EF. NUMBER a ormm m<r. NUMBER
2:04-020474-002
7. lN cAsF./MM'I'ER or (c.g mma s. PAYMENT cAH-:GORY 9. TYPE PERSON REPRESENTED 10. EHRBSEE%'TA)HON TYPE
rll Dlli
U.S. v. Pratt Felony Adult Defendant Criminal Case

 

 

ll. OFFENSE(S) CI{ARGED (Cile U.S. Code, Tiile & Section) lf more lhon one offens¢, lisl (up to lived major offenses dillged, according to severity nl` nil'eose.

l) 18 2251 ,F -- SEXUAL EXPLOITATION OF CH]LDREN

 

 

 

   

 

 

     

 

12. A'I'TORNEY'S NAME Filst Name, M.l., Last Name, including any sumx) 11 COURT ORDER `__,._

AND MAIL{NG ADD SS lE 0 Appuin¢lne Counse| l:| C Cv-Cv"ll=¢l f"`,»", ':
BROWN, SHEILA D. |] F sum Far F¢dml hammer 13 n sara Fnr agu;m-Amm¢y;_, j
9160 Hw.y 64 Suite 12 § P S\lbs For FanelAttorney ij Y Stmdby Cdi‘ins;el¢ 1 . ¢'- '

, ,~. .` . ~-;.\
La<eland TN 38002 P'*"*““""Y'=Nm= r1 ‘ »-'-
A, _ ' Dnle: r‘~j ",»~'-\ '-, 7 \,
\:l Beuuse the above-named person represented luis testified under o’i'm prhu ~-‘J f
otherwise satislled this court that he or she (l) is financially unable to empi¢`ij",cb'tinsel and _ a
Te|¢phon¢ Numb".: (2) dba not wish to waive counse|. ‘ v - - ~ the intends ofjusdoe so'nqdi're, the `_;'-_';
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14. NAME AN'D MAILING ADDRESS OF LAW FIRM{oniy provide per instructions r =;1-\' 1 `; 51
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Wlth RU|@ 55 and/cr 32\5) FHC(P 0 MI?q/?nn€ . W}.
Date of Onier Nunc Pm Tunc Date
Repaymenl or partial repayment ordered from the person represented for this service at
time ol'lppoinunem. CI YES NO

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

CATEGQRIES (Acmcn itemization or semmes with dates) CE§H,,R§D SH{§`IETEB §§ng H:RI?(L:§JFELET%H AHED{,TI}SQ`¥AL
15. a. Al‘raignment and/or Plea
b. Bail and Detention Hearings
c. Mntion Hearings
§ d. Trial
C e. Senteuciog Hearings
3 f. Revocation Hearings
:' g. Appeals Cour!
h. ()ther (Specify on additional sheets)
(Rale per hour = $ ) TOTALS:
16. a. Inierviews and Conferences
l? b. obtaining and reviewing records
n c. Legal research and brief writing
; d. Travel time
3 e. Invesl.igative and Other work (sp¢dry nn additional sheets
{ (Rate per hour = $ ) TOTALS:
17. Travel Expenses (lodging, parking, meals, mileage, etc.)
18. Olher Expenses (other than expert, transcripts, etc.)
19. CERTlFlCATION OF A'I'I`ORNEYI'PAYEE FOR THE PERIOD OF SERVICE 20. APPO]N'!'MENT 'I'ERMINATION DATE 21. CASE DISPOSIT[ON
FROM TO IF oTHER 'rHAN case coMrleoN
22. CLAIM STATUS m l"lnal hyment i:l lut¢r|m Payment Number ____ U Supplement.l| Paymeol
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reprsenmion? [l YES l:l NO li` ys, give details on additional sheets

l swear or affirm the truth or correctness ol` the above statements.

 

Signlture of Mtam¢y:

 

 
     

  

A f .-»

       

 

 

 

 

 

23. lN COURT COMP. 24. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26. OTHER EXPENSES 27. TOTAL AMT. APPR CRT
28. SIGNATURE OF THE PRESID[NG .IUDIC[AI. DFFICER DATE 281. .IUDGE ! MAG. JUDGE CODE
29. lN COURT COMP. 30. OUT UF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED

34. §§E§$W“g§f%llzg£§l¥o%D§r§h%?Un?F APPEALS (OR DELEGA'I`E) Paymenl DATE 343. JU'DGE CODE

 

 

 

 

 

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UNITED S`ATE DSTIIC COURT - WE'T'RN DISTRCT oFTENNESSEE

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Honorable Bernice Donald
US DISTRICT COURT

